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                    Exhibit A
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                                       FOIA Request / Expedited Processing Requested


                                                                    February 7, 2025
                     Electronically submitted

                     Recipients (full addressee list provided in addendum):

                           x   Commerce Department (including the Census Bureau and National
                               Oceanic and Atmospheric Administration)
                           x   Consumer Finance Protection Bureau
                           x   Department of Agriculture (including the Food and Nutrition Service)
                           x   Department of Defense (including the Defense Manpower Data Center)
National Office            x   Department of Education
125 Broad Street,          x   Department of Health and Human Services (including the Administration
18th Floor
New York, NY 10004             for Children and Families, Centers for Medicare & Medicaid Services,
aclu.org                       Centers for Disease Control, National Institutes of Health, Food and
                               Drug Administration, Program Support Center, and Substance Abuse and
Deborah N. Archer
President
                               Mental Health Services Administration)
                           x   Department of Homeland Security (including the Federal Emergency
Anthony D. Romero              Management Agency and U.S. Citizenship and Immigration Services)
Executive Director
                           x   Department of Housing and Urban Development
                           x   Department of the Interior (including the Bureau of Indian Affairs and
                               National Park Service)
                           x   Department of Justice (including the Federal Bureau of Investigation and
                               Executive Office of U.S. Attorneys)
                           x   Department of Labor (including the Mine Safety and Health
                               Administration and Occupational Safety and Health Administration)
                           x   Department of State (including the U.S. Agency for International
                               Development)
                           x   Department of Veterans Affairs
                           x   Equal Employment Opportunity Commission
                           x   General Services Administration
                           x   Office of Management and Budget
                           x   Office of Personnel Management
                           x   Social Security Administration
                           x   Treasury Department (including the Bureau of Fiscal Service and
                               Internal Revenue Service)

                     Re:       Request Under Freedom of Information Act Concerning U.S. DOGE
                               Service Access to Sensitive Agency Records Systems

                               (Expedited Processing & Fee Waiver/Limitation Requested)
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                                  To Whom It May Concern:

                                          The American Civil Liberties Union and the American Civil Liberties
                                  Union Foundation (together, the “ACLU”) 1 submit this Freedom of Information
                                  Act (“FOIA”) request (the “Request”) for records pertaining to access to
                                  sensitive agency records by individuals associated with the so-called
                                  Department of Government Efficiency (“DOGE”), also known as the United
                                  States DOGE Service (“USDS”).

                                                                              I. Background

                                          On January 20, 2025, President Trump issued an executive order
                                  establishing the “Department of Government Efficiency,” renaming the United
                                  States Digital Service as the “United States DOGE Service (USDS),”
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                  “establish[ing]” USDS in the Executive Office of the President, and establishing
                                  a temporary organization, “the U.S. DOGE Service Temporary Organization,”
                                  pursuant to 5 U.S.C. § 3161. For purposes of this Request, these entities are
                                  collectively referred to as “USDS.”

                                           In the weeks since, numerous press reports have discussed individuals
                                  affiliated with or representing USDS requesting or gaining access to various
                                  federal agency systems of records, data repositories, databases, computer
                                  matching programs, and other systems containing sensitive information. This
                                  reportedly includes the Treasury Department’s payment system; personnel
                                  records of federal employees, contractors, and applicants; federal student loan
                                  records; federal benefits payee records; and more. Many of these records are
                                  protected by federal laws and regulations, including the Privacy Act, the Health
                                  Information Portability and Accountability Act (HIPAA) and the HIPAA
                                  Privacy Rule, the E-Government Act of 2002, including the Federal Information
                                  Security Management Act and the Confidential Information Protection and
                                  Statistical Efficiency Act, taxpayer privacy laws including 26 U.S.C § 6103, and
                                  other provisions. Serious concerns have been raised about whether USDS access
                                  to or use of these sensitive records violates these and other federal privacy
                                  protections.

                                         Additionally, reports have indicated that individuals associated with
                                  USDS have proposed or implemented programs to use artificial intelligence to
                                  analyze large volumes of federal government records for purposes including

                                      1
                                        The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                                  that provides legal representation free of charge to individuals and organizations in civil rights
                                  and civil liberties cases, and educates the public about civil rights and civil liberties issues across
                                  the country. The American Civil Liberties Union is a separate non-profit, 26 U.S.C. § 501(c)(4)
                                  membership organization that educates the public about the civil liberties implications of
                                  pending and proposed state and federal legislation, provides analysis of pending and proposed
                                  legislation, directly lobbies legislators, and mobilizes its members to lobby their legislators.


                                                                                       2
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                                  identifying “potential redundancies and budget reductions.” 2 This raises
                                  concerns about whether U.S. government actors are outsourcing important and
                                  complex decision-making to black-box AI algorithms, and whether feeding
                                  people’s sensitive information to unvetted algorithms further risks
                                  compromising Americans’ privacy.

                                         To provide the American public with information about this highly
                                  consequential and fast-moving situation, the ACLU seeks the following
                                  information through this FOIA request.

                                                                     II. Requested Records

                                          The ACLU seeks the release of records for the period beginning at noon
                                  Eastern Standard Time on January 20, 2025—including but not limited to
                                  written communications (including emails, SMS messages, and messages sent
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                  on platforms including but not limited to iMessage, Slack, Microsoft Teams,
                                  WhatsApp, and Signal) and memoranda—concerning the following:

                                         (1)     Any request by persons affiliated with or representing DOGE or
                                  USDS for access to any data repository, database, system of records, computer
                                  matching program, code base, or other system containing personally identifiable
                                  information (PII), personnel records (including records of federal employees,
                                  contractors, and applicants), financial data, health data, or other sensitive data,
                                  and any response to such request;

                                           (2)    Any decision, analysis or discussion about whether access to any
                                  data repository, database, system of records, computer matching program, code
                                  base, or other system containing personally identifiable information (PII),
                                  personnel records, financial data, health data, or other sensitive data by persons
                                  affiliated with or representing DOGE or USDS is prohibited or constrained by
                                  statute, regulation, or rule. This includes but is not limited to any discussion of
                                  protections provided by the Privacy Act; the Health Information Portability and
                                  Accountability Act (HIPAA) and the HIPAA Privacy Rule; the E-Government
                                  Act of 2002, including the Federal Information Security Management Act and
                                  the Confidential Information Protection and Statistical Efficiency Act; taxpayer
                                  privacy laws including 26 U.S.C § 6103; the Family Educational Rights and
                                  Privacy Act (FERPA); and census record privacy laws including 13 U.S.C. §§ 9
                                  & 214; and

                                           (3)     Any proposed or actual use of artificial intelligence, including but
                                  not limited to services, models, or other software applications provided by xAI or


                                      2
                                       Kate Conger et al., Musk Allies Discuss Deploying A.I. to Find Budget Savings, N.Y.
                                  Times (Feb. 3, 2025), https://www.nytimes.com/2025/02/03/technology/musk-allies-ai-
                                  government.html.


                                                                                  3
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                                  Grok, by or at the direction or request of persons affiliated with or representing
                                  DOGE or USDS to analyze agency records or data.

                                           For purposes of this request, “persons affiliated with or representing
                                  DOGE or USDS” includes, but is not limited to, (1) any individual employed by
                                  or volunteering with DOGE or USDS, including as a Special Government
                                  Employee; (2) any Special Government Employee who began work with a
                                  federal agency on or after January 20, 2025; (3) any employee hired by a federal
                                  agency since Jan. 20, 2025 who previously worked at Tesla, Inc.; X Corp.; Space
                                  Exploration Technologies Corporation (SpaceX); The Boring Company (TBC);
                                  or X.AI Corp.; or (4) the following named individuals, who have been publicly
                                  reported 3 as being affiliated with or representing DOGE or USDS:
                                               x Anthony Armstrong;
                                               x Riccardo Biasini;
AMERICAN CIVIL LIBERTIES
                                               x Brian Bjelde;
UNION FOUNDATION                               x Akash Bobba;
                                               x Edward Coristine;
                                               x Steve Davis;
                                               x Marko Elez;
                                               x Luke Farritor;
                                               x Nicole Hollander;
                                               x Gavin Kilger;
                                               x Gautier “Cole” Killian;
                                               x Michael Kratsios;
                                               x Tom Krause;
                                               x Matt Luby;
                                               x Nikhil Rajpal;
                                               x Rachel Riley;
                                               x Michael Russo;


                                      3
                                         See, e.g., Avi Asher-Schapiro et al., Elon Musk’s Demolition Crew, ProPublica (Feb. 6,
                                  2025), https://projects.propublica.org/elon-musk-doge-tracker/; Daniel Barnes et al., Trump
                                  administration agrees to restrict DOGE access to Treasury Department payment systems, NBC
                                  News (Feb. 5, 2025), https://www.nbcnews.com/politics/politics-news/trump-administration-
                                  agrees-restrict-doge-access-treasury-department-p-rcna190898; Revolving Door Project, The
                                  People Reportedly Aiding Elon Musk and DOGE’s Attack on the Federal Government (Feb. 5,
                                  2025), https://therevolvingdoorproject.org/reportedly-doge/; Tim Reid, Exclusive: Musk aides
                                  lock workers out of OPM computer systems, Reuters (Feb. 2, 2025),
                                  https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-
                                  us-agency-sources-say-2025-01-31/; Vittoria Elliott, The Young, Inexperienced Engineers
                                  Aiding Elon Musk’s Government Takeover, WIRED (Feb. 2, 2025),
                                  https://www.wired.com/story/elon-musk-government-young-engineers/; Natalie Alms, Musk
                                  visits and asserts growing influence at GSA, Nextgov/FCW (Jan. 30, 2025),
                                  https://www.nextgov.com/people/2025/01/musk-visits-and-asserts-growing-influence-
                                  gsa/402628.


                                                                                  4
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                                               x   Amanda Scales;
                                               x   Ethan Shaotran;
                                               x   Thomas Shedd;
                                               x   Brad Smith; and
                                               x   Joanna Wischer.


                                          With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
                                  ACLU requests that responsive electronic records be provided electronically in
                                  their native file format, if possible. Alternatively, the ACLU requests that the
                                  records be provided electronically in a text-searchable, static-image format
                                  (PDF), in the best image quality in the agency’s possession, and that the records
                                  be provided in separate, Bates-stamped files.

AMERICAN CIVIL LIBERTIES
                                                          III. Application for Expedited Processing
UNION FOUNDATION

                                          The ACLU requests expedited processing pursuant to 5 U.S.C.
                                  § 552(a)(6)(E) and the Agency’s regulations. There is a “compelling need” for
                                  these records, as defined in the statute, because the information requested is
                                  “urgen[tly]” needed by an organization primarily engaged in disseminating
                                  information “to inform the public concerning actual or alleged Federal
                                  Government activity.” 5 U.S.C. § 552(a)(6)(E)(v)(II).

                                  A.       The ACLU is an organization primarily engaged in disseminating
                                           information in order to inform the public about actual or alleged
                                           government activity.

                                          The ACLU is “primarily engaged in disseminating information” within
                                  the meaning of the statute and regulations. See id. Obtaining information about
                                  government activity, analyzing that information, and widely publishing and
                                  disseminating it to the press and public are critical and substantial components
                                  of the ACLU’s work and are among its primary activities. See ACLU v. Dep’t of
                                  Justice, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding non-profit public
                                  interest group that “gathers information of potential interest to a segment of the
                                  public, uses its editorial skills to turn the raw material into a distinct work, and
                                  distributes that work to an audience” to be “primarily engaged in disseminating
                                  information”). 4

                                         The ACLU regularly publishes the ACLU magazine that reports on and
                                  analyzes civil liberties-related current events. The magazine is disseminated to


                                       4
                                        Courts have found that the ACLU as well as other organizations with similar missions that
                                  engage in information-dissemination activities similar to the ACLU are “primarily engaged in
                                  disseminating information.” See, e.g., Leadership Conference on Civil Rights v. Gonzales, 404
                                  F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5; Elec. Privacy Info. Ctr. v.
                                  DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).


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                                  over 1 million donors. The ACLU also publishes regular updates and alerts via
                                  email to 4.8 million subscribers (both ACLU members and non-members).
                                  These updates are additionally broadcast to over 6.6 million social media
                                  followers. The magazine as well as the email and social-media alerts often
                                  include descriptions and analysis of information obtained through FOIA
                                  requests.

                                        The ACLU also regularly issues press releases to call attention to
                                  documents obtained through FOIA requests, as well as other breaking news, 5
                                  and ACLU attorneys are interviewed frequently for news stories about
                                  documents released through ACLU FOIA requests. 6


                                      5
                                         See, e.g., Press Release, ACLU, Government Releases New Court Opinions Highlighting
                                  Further Abuse of Warrantless FISA Surveillance Program (July 21, 2023); Press Release,
AMERICAN CIVIL LIBERTIES          ACLU, New Records Detail DHS Purchase and Use of Vast Quantities of Cell Phone Location
UNION FOUNDATION                  Data (July 18, 2022), https://www.aclu.org/news/privacy-technology/new-records-detail-dhs-
                                  purchase-and-use-of-vast-quantities-of-cell-phone-location-data; Press Release, ACLU, ACLU
                                  Files FOIA Request Seeking Records Related to Detained Immigrants’ Ability to Access
                                  Counsel (December 17, 2021), https://www.aclu.org/press-releases/aclu-files-foia-request-
                                  seeking-records-related-detained-immigrants-ability-access; Press Release, ACLU, ACLU Files
                                  FOIA Request to Uncover COVID Impact and Cost of Federal Executions (August 6, 2022),
                                  https://www.aclu.org/press-releases/aclu-files-foia-request-uncover-covid-impact-and-cost-
                                  federal-executions; Press Release, ACLU, New Records Detail How the FBI Pressures Police to
                                  Keep Use of Shady Phone Surveillance Technology a Secret (June 22, 2023),
                                  https://www.aclu.org/press-releases/new-records-detail-how-the-fbi-pressures-police-to-keep-
                                  use-of-shady-phone-surveillance-technology-a-secret; Press Release, ACLU, ACLU Announces
                                  Major Settlement in Family Separation Lawsuit (October 16, 2023), https://www.aclu.org/press-
                                  releases/aclu-announces-major-settlement-in-family-separation-lawsuit; Press Release, ACLU,
                                  In Win for Black Voters, Supreme Court Rejects Alabama’s Appeal in Milligan and Reaffirms
                                  State Must Draw Second Opportunity District Press Release, ACLU, Federal Court Permanently
                                  Blocks Billions of Dollars in Border Wall Construction (June 28, 2019),
                                  https://www.aclu.org/press-releases/federal-court-permanently-blocks-billions-dollars-border-
                                  wall-construction; Press Release, ACLU, New Documents Reveal NSA Improperly Collected
                                  Americans’ Call Records Yet Again (June 26, 2019), https://www.aclu.org/press-releases/new-
                                  documents-reveal-nsa-improperly-collected-americans-call-records-yet-again; Press Release,
                                  ACLU, ACLU and Center for Media Justice Sue FBI for Records on Surveillance of Black
                                  Activists (Mar. 21, 2019), https://www.aclu.org/press-releases/aclu-and-center-media-justice-
                                  sue-fbi-records-surveillance-black-activists; Press Release, ACLU, ACLU, Privacy International
                                  Demand Government Disclose Nature and Extent of Hacking Activities (Dec. 21, 2018),
                                      6
                                         See, e.g., Corin Faife, Feds Are Tracking Phone Locations With Data Bought From
                                  Brokers, The Verge (July 18, 2022), https://www.theverge.com/2022/7/18/23268592/feds-
                                  buying-location-data-brokers-aclu-foia-dhs; Jessica Votipka, ACLU Files Suit Against Grand
                                  Island School That Ended High School Newspaper, Journal Star (Mar. 31, 2023),
                                  https://journalstar.com/news/state-and-regional/crime-and-courts/aclu-files-suit-against-
                                  northwest-public-schools/article_4c514454-abc7-533f-b133-498c140cd030.html; Charlie
                                  Savage, N.S.A. Gathered Domestic Calling Records It Had No Authority to Collect, N.Y. Times,
                                  June 26, 2019, https://www.nytimes.com/2019/06/26/us/telecom-nsa-domestic-calling-
                                  records.html (quoting ACLU attorney Patrick Toomey); Rachel Frazin, ACLU Sues FBI Over
                                  Black Activist Surveillance Records, Hill (Mar. 21, 2019), https://thehill.com/policy/national-
                                  security/fbi/435143-fbi-sued-over-black-activist-surveillance-records (quoting ACLU attorney
                                  Nusrat Choudhury); Cora Currier, TSA’s Own Files Show Doubtful Science Behind Its



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                                           Similarly, the ACLU publishes reports about government conduct and
                                  civil liberties issues based on its analysis of information derived from various
                                  sources, including information obtained from the government through FOIA
                                  requests. This material is broadly circulated to the public and widely available to
                                  everyone for no cost or, sometimes, for a small fee. ACLU national projects
                                  regularly publish and disseminate reports that include a description and analysis
                                  of government documents obtained through FOIA requests. 7 The ACLU also
                                  regularly publishes books, “know your rights” materials, fact sheets, and
                                  educational brochures and pamphlets designed to educate the public about civil
                                  liberties issues and government policies that implicate civil rights and liberties.

                                          The ACLU publishes a widely read blog where original editorial content
                                  reporting on and analyzing civil rights and civil liberties news is posted daily.
                                  See https://www.aclu.org/blog. The ACLU creates and disseminates original
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                  editorial and educational content on civil rights and civil liberties news through
                                  multi-media projects, including videos, podcasts, and interactive features. See


                                  Behavioral Screen Program, Intercept (Feb. 8, 2017), https://theintercept.com/2017/02/08/tsas-
                                  own-files-show-doubtful-science-behind-its-behavior-screening-program (quoting ACLU
                                  attorney Hugh Handeyside); Larry Neumeister, Judge Scolds Government over Iraq Detainee
                                  Abuse Pictures, The Associated Press (Jan. 18, 2017),
                                  https://www.apnews.com/865c32eebf4d457499c017eb837b34dc (quoting ACLU project
                                  director Hina Shamsi); Karen DeYoung, Newly Declassified Document Sheds Light on How
                                  President Approves Drone Strikes, Wash. Post (Aug. 6, 2016), http://wapo.st/2jy62cW (quoting
                                  former ACLU deputy legal director Jameel Jaffer); Catherine Thorbecke, What Newly Released
                                  CIA Documents Reveal About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
                                  http://abcn.ws/2jy40d3 (quoting ACLU attorney Dror Ladin); Nicky Woolf, US Marshals Spent
                                  $10M on Equipment for Warrantless Stingray Device, Guardian (Mar. 17, 2016),
                                  https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-airborne
                                  (quoting ACLU attorney Nathan Freed Wessler); David Welna, Government Suspected of
                                  Wanting CIA Torture Report to Remain Secret, NPR (Dec. 9, 2015), http://n.pr/2jy2p71 (quoting
                                  ACLU project director Hina Shamsi).
                                       7
                                         See, e.g., ACLU, Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program (2017),
                                  https://www.aclu.org/sites/default/files/field_document/dem17-tsa_detection_report-v02.pdf;
                                  Carl Takei, ACLU-Obtained Emails Prove that the Federal Bureau of Prisons Covered Up Its
                                  Visit to the CIA’s Torture Site (Nov. 22, 2016), https://www.aclu.org/blog/speak-freely/aclu-
                                  obtained-emails-prove-federal-bureau-prisons-covered-its-visit-cias-torture; Brett Max
                                  Kaufman, Details Abound in Drone ‘Playbook’ – Except for the Ones That Really Matter Most
                                  (Aug. 8, 2016), https://www.aclu.org/ blog/speak-freely/details-abound-drone-playbook-except-
                                  ones-really-matter-most; ACLU, Leaving Girls Behind: An Analysis of Washington D.C.’s
                                  “Empowering Males of Color” Initiative (2016), https://www.aclu.org/ report/leaving-girls-
                                  behind; Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive
                                  Stingray Use in Florida (Feb. 22, 2015), https://www.aclu.org/blog/free-future/aclu-obtained-
                                  documents-reveal-breadth-secretive-stingray-use-florida; Nathan Freed Wessler, FBI Documents
                                  Reveal New Information on Baltimore Surveillance Flights (Oct. 30, 2015), https://www.aclu.
                                  org/blog/free-future/fbi-documents-reveal-new-information-baltimore-surveillance-flights;
                                  Ashley Gorski, New NSA Documents Shine More Light into Black Box of Executive Order 12333
                                  (Oct. 30, 2014), https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-
                                  executive-order-12333.


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                                  https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
                                  disseminates information through its heavily visited website, www.aclu.org. The
                                  website addresses civil rights and civil liberties issues in depth, provides features
                                  on civil rights and civil liberties issues in the news, and contains many
                                  thousands of documents relating to the issues on which the ACLU is focused.
                                  The ACLU’s website also serves as a clearinghouse for news about ACLU
                                  cases, including analysis about case developments and an archive of case-related
                                  documents. Through these pages, and with respect to each specific civil liberties
                                  issue, the ACLU provides the public with educational material, recent news,
                                  analyses of relevant congressional or executive branch action, government
                                  documents obtained through FOIA requests, and further in-depth analytic and
                                  educational multi-media features. 8

                                          The ACLU website includes many features on information obtained
                                  through the FOIA. For example, the ACLU maintains an online “Torture
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                  Database,” a compilation of over 100,000 pages of FOIA documents that allows
                                  researchers and the public to conduct sophisticated searches of its contents
                                  relating to government policies on rendition, detention, and interrogation. 9 The

                                      8
                                         See, e.g., ACLU v. ODNI—FOIA Lawsuit Seeking Records About Government
                                  Surveillance Under the USA Freedom Act, ACLU Case Page, https://www.aclu.org/cases/aclu-
                                  v-odni-foia-lawsuit-seeking-records-about-government-surveillance-under-usa-freedom-act;
                                  ACLU v. DOJ—FOIA Lawsuit Seeking Information on Federal Agencies’ Surveillance of Social
                                  Media, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-seeking-
                                  information-federal-agencies-surveillance-social-media; ACLU v. DOJ—FOIA Case for Records
                                  Relating to Targeted Killing Law, Policy, and Casualties, ACLU Case Page,
                                  https://www.aclu.org/cases/aclu-v-doj-foia-case-records-relating-targeted-killing-law-policy-
                                  and-casualties; Executive Order 12,333—FOIA Lawsuit, ACLU Case Page,
                                  https://www.aclu.org/cases/executive-order-12333-foia-lawsuit; ACLU Motions Requesting
                                  Public Access to FISA Court Rulings on Government Surveillance, ACLU Case Page,
                                  https://www.aclu.org/cases/aclu-motions-requesting-public-access-fisa-court-rulings-
                                  government-surveillance; ACLU v. DOJ—FOIA Lawsuit Demanding OLC Opinion “Common
                                  Commercial Service Agreements, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-
                                  lawsuit-demanding-olc-opinion-common-commercial-service-agreements; FOIA Request for
                                  Justice Department Policy Memos on GPS Location Tracking, ACLU Case Page, https://www.
                                  aclu.org/cases/foia-request-justice-department-policy-memos-gps-location-tracking; Florida
                                  Stingray FOIA, ACLU Case Page, https://www.aclu.org/cases/florida-stingray foia; Nathan
                                  Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive Stingray Use in
                                  Florida, (Feb. 22, 2015) https://www.aclu.org/blog/free-future/aclu-obtained-documents-reveal-
                                  breadth-secretive-stingray-use-florida?redirect=blog/national-security-technology-and-
                                  liberty/aclu-obtained-documents-reveal-breadth-secretive-sting.
                                       9
                                         The Torture Database, ACLU, https://www.thetorturedatabase.org (last visited May 11,
                                  2017). See also, e.g., Countering Violent Extremism FOIA Database, ACLU Database,
                                  https://www.aclu.org/foia-collection/cve-foia-documents; TSA Behavior Detection FOIA
                                  Database, ACLU Database, https://www.aclu.org/foia-collection/tsa-behavior-detection-foia-
                                  database; ACLU, Targeted Killing FOIA Database, ACLU Database, https://www.aclu.org/foia-
                                  collection/targeted-killing-foia-database; ACLU, ACLU v. CIA - FOIA Case for Records
                                  Relating to Drone Killings, ACLU Database, https://www.aclu.org/national-security/predator-
                                  drones-foia; ACLU, FBI Releases Details of 'Zero-Day' Exploit Decisionmaking Process, Free
                                  Future Blog (June 26, 2015, 11:00 AM), https://www.aclu.org/blog/free-future/fbi-releases-



                                                                                  8
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                                   ACLU has also published a number of charts and explanatory materials that
                                   collect, summarize, and analyze information it has obtained through the FOIA. 10

                                          The ACLU plans to analyze, publish, and disseminate to the public the
                                   information gathered through this Request. The records requested are not sought
                                   for commercial use and the Requesters plan to disseminate the information
                                   disclosed as a result of this Request to the public at no cost.

                                   B.        The records sought are urgently needed to inform the public about
                                             actual or alleged government activity.

                                           These records are urgently needed to inform the public about actual or
                                   alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically, they
                                   pertain to whether federal agencies are violating federal laws, regulations, or
                                   policies by providing extraordinary access to sensitive information to individuals
AMERICAN CIVIL LIBERTIES
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                                   associated with or representing USDS. USDS activities are the subject of
                                   widespread and intense public controversy and media attention, with multiple new
                                   breaking news stories published daily, including about USDS access to sensitive
                                   information, 11 and USDS use of artificial intelligence tools to analyze federal data


                                   details-zero-day-exploit-decisionmaking-process; ACLU, FBI Documents Reveal New
                                   Information on Baltimore Surveillance Flights, Free Future Blog (Oct. 30, 2015, 8:00 AM),
                                   https://www.aclu.org/blog/free-future/fbi-documents-reveal-new-information-baltimore-
                                   surveillance-flights; ACLU, ACLU v. DOJ - FOIA Case for Records Relating to Killing of Three
                                   U.S. Citizens (Dec. 30, 2016), https://www.aclu.org/national-security/anwar-al-awlaki-foia-
                                   request; ACLU, ACLU v. Dep't of Defense (Aug.18, 2015), https://www.aclu.org/cases/aclu-v-
                                   department-defense; ACLU, Mapping the FBI, https://www.aclu.org/mappingthefbi, (last visited
                                   May 11, 2017); ACLU, Bagram FOIA (Apr. 18, 2013), https://www.aclu.org/cases/
                                   bagram-foia; ACLU, CSRT FOIA, https://www.aclu.org/national-security/csrt-foia, (last visited
                                   May 11, 2017); ACLU,ACLU v. DOJ, Lawsuit to Enforce NSA Warrantless Surveillance FOIA
                                   http://www.aclu.org/safefree/nsaspying/30022res20060207.html, (last visited May 11, 2017);
                                   ACLU, Patriot FOIA¸ https://www.aclu.org/patriot-foia (last visited May 11, 2017); ACLU,
                                   NSL Documents Released by DOD, https://www.aclu.org/nsl-documents-released-
                                   dod?redirect=cpredirect/32088 (last visited May 11, 2017).
                                        10
                                           ACLU, FBI Documents Reveal New Information on Baltimore Surveillance Flights, Free
                                   Future Blog (Oct. 30, 2015, 8:00 AM), https://www.aclu.org/blog/free-future/fbi-documents-
                                   reveal-new-information-baltimore-surveillance-flights; Summary of FISA Amendments Act FOIA
                                   Documents Released on November 29, 2010, ACLU (Nov. 29, 2010),
                                   https://www.aclu.org/files/pdfs/natsec/faafoia 20101129/20101129Summary.pdf; Index of Bush-
                                   Era OLC Memoranda Relating to Interrogation, Detention, Rendition and/or Surveillance,
                                   ACLU (Mar. 5, 2009), https://www.aclu.org/sites/default/files/pdfs/ safefree/
                                   olcmemos_2009_0305.pdf; Statistics on NSL’s Produced by Department of Defense, ACLU,
                                   https://www.aclu.org/sites/default/files/field_document/nsl_stats.pdf.
                                        11
                                           See, e.g., Isaac Stanley-Becker, et al., Musk’s DOGE Agents Access Sensitive Personnel
                                   Data, Alarming Security Officials, Wash. Post (Feb. 6, 2025), https://perma.cc/A7W5-7BBP;
                                   Inside Musk’s Aggressive Incursion Into the Federal Government, N.Y. Times (Feb. 3, 2025),
                                   https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html; Andrew
                                   Duehren, et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. Times
                                   (Feb. 1, 2025), https://perma.cc/R9RN-DEFE; Vittoria Elliott, et al., A 25-Year-Old With Elon



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                                   or records and make decisions. 12 USDS access to sensitive data has also been the
                                   subject of multiple lawsuits filed since January 20, 13 and members of Congress
                                   have urgently raised alarms. 14 The records sought relate to a matter of widespread
                                   and exceptional public and media interest in the access USDS has to sensitive
                                   information.

                                            In spite of the extraordinary public interest in the activities of USDS,
                                   USDS and federal agencies have released little information about what access to
                                   sensitive data has been granted to individuals associated with USDS, and with
                                   what protections, if any. Given the extraordinary interest and the lack of public
                                   information, there is an urgent need to inform the public about the access persons
                                   affiliated with or representing DOGE or USDS have to sensitive information held
                                   by government agencies and the use of AI tools to analyze large repositories of
                                   agency records. An extraordinary debate about unprecedented activity within
                                   federal agencies is happening now, and accurate public information about agency
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                                   activities is urgently needed to inform that debate. Expedited processing is
                                   therefore appropriate under 5 U.S.C. § 552(a)(6)(E) and the Agency’s
                                   implementing regulations.

                                                      IV. Application for Waiver or Limitation of Fees

                                           The ACLU requests a waiver of document search, review, and
                                   duplication fees on the grounds that disclosure of the requested records is in the
                                   public interest and because disclosure is “likely to contribute significantly to
                                   public understanding of the operations or activities of the government and is not
                                   primarily in the commercial interest of the requester.” 5 U.S.C.


                                   Musk Ties Has Direct Access to the Federal Payment System, WIRED (Feb. 4, 2025),
                                   https://perma.cc/LB74-HWC9; Lauren Irwin, Senate Democrat: DOGE Has ‘Burrowed Into the
                                   Private Information of Every American,’ The Hill (Feb. 6, 2025), https://perma.cc/NPS9-SLDK;
                                   Musk's DOGE Granted Access to US Medicare and Medicaid Systems, Reuters (Feb. 5, 2025),
                                   https://perma.cc/36N8-TPAB; Vittoria Elliott, DOGE Will Allow Elon Musk to Surveil the US
                                   Government From the Inside, WIRED (Jan. 24, 2025), https://www.wired.com/story/doge-elon-
                                   musk/.
                                       12
                                           See, e.g., Hannah Natanson et al., Elon Musk’s DOGE is Feeding Sensitive Federal Data
                                   into AI to Target Cuts, Wash. Post (Feb. 6, 2025),
                                   https://www.washingtonpost.com/nation/2025/02/06/elon-musk-doge-ai-department-education/;
                                   Kate Conger et al., Musk Allies Discuss Deploying A.I. to Find Budget Savings, N.Y. Times
                                   (Feb. 3, 2025), https://www.nytimes.com/2025/02/03/technology/musk-allies-ai-
                                   government.html.
                                       13
                                         See, e.g., Alliance for Retired Americans v. Bessent, No. 25-313 (D.D.C. filed Feb. 3,
                                   2025); Hurubie Meko, State Attorneys General to Sue Over Musk’s Access to Government
                                   Systems, N.Y. Times (Feb. 6, 2025), https://www.nytimes.com/2025/02/06/nyregion/letitia-
                                   james-doge-suit.html.
                                       14
                                          See, e.g., Letter from Sen. Mark R. Warner et al. to Susie Wiles, White House Chief of
                                   Staff (Feb. 5, 2025), https://www.kelly.senate.gov/wp-content/uploads/2025/02/DOGE-
                                   Letter.pdf.


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                                   § 552(a)(4)(A)(iii). The ACLU also requests a waiver of search fees on the
                                   grounds that the ACLU qualifies as a “representative of the news media” and the
                                   records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                                   A.     The Request is likely to contribute significantly to public understanding
                                          of the operations or activities of the government and is not primarily in
                                          the commercial interest of the ACLU.

                                           As discussed above, this Request concerns serious questions surrounding
                                   the extraordinary access to sensitive agency records by individuals associated
                                   with USDS. Little official information is publicly available regarding this topic,
                                   so the records sought are certain to contribute significantly to the public’s
                                   understanding.

                                          The ACLU is not filing this Request to further its commercial interest.
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                                   As described above, any information disclosed by the ACLU as a result of this
                                   FOIA Request will be available to the public at no cost. Thus, a fee waiver
                                   would fulfill Congress’s legislative intent in amending FOIA. See Judicial
                                   Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress
                                   amended FOIA to ensure that it be liberally construed in favor of waivers for
                                   noncommercial requesters.” (quotation marks omitted)).


                                   B.     The ACLU is a representative of the news media and the records are not
                                          sought for commercial use.

                                           The ACLU also requests a waiver of search fees on the grounds that the
                                   ACLU qualifies as a “representative of the news media” and the records are not
                                   sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The ACLU meets the
                                   statutory and regulatory definitions of a “representative of the news media”
                                   because it is an “entity that gathers information of potential interest to a segment
                                   of the public, uses its editorial skills to turn the raw materials into a distinct
                                   work, and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III);
                                   see also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir.
                                   1989) (finding that an organization that gathers information, exercises editorial
                                   discretion in selecting and organizing documents, “devises indices and finding
                                   aids,” and “distributes the resulting work to the public” is a “representative of
                                   the news media” for purposes of the FOIA); Serv. Women’s Action Network v.
                                   Dep’t of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including
                                   ACLU, were representatives of the news media and thus qualified for fee
                                   waivers for FOIA requests to the Department of Defense and Department of
                                   Veterans Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011
                                   WL 887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                                   Washington is an entity that “gathers information of potential interest to a
                                   segment of the public, uses its editorial skills to turn the raw materials into a
                                   distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp.


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                                   2d at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                                   disseminating information”). The ACLU is therefore a “representative of the
                                   news media” for the same reasons it is “primarily engaged in the dissemination
                                   of information.”

                                           Furthermore, courts have found other organizations whose mission,
                                   function, publishing, and public education activities are similar in kind to the
                                   ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
                                   Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr.,
                                   241 F. Supp. 2d at 10–15 (finding non-profit public interest group that
                                   disseminated an electronic newsletter and published books was a “representative
                                   of the news media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at
                                   1387; Judicial Watch, Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54
                                   (D.D.C. 2000) (finding Judicial Watch, self-described as a “public interest law
                                   firm,” a news media requester). 15
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                                          On account of these factors, fees associated with responding to FOIA
                                   requests are regularly waived for the ACLU as a “representative of the news
                                   media.” 16 As was true in those instances, the ACLU meets the requirements for
                                   a fee waiver here.

                                                                           *        *        *


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                                           Courts have found these organizations to be “representatives of the news media” even
                                   though they engage in litigation and lobbying activities beyond their dissemination of
                                   information and public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                                   Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                                   Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                                       16
                                          The ACLU regularly receives FOIA fee waivers from federal agencies. For example, in
                                   June 2018, the U.S. Citizenship and Immigration Services granted a fee-waiver request
                                   regarding a FOIA request for documents relating to the use of social media surveillance. In
                                   August 2017, CBP granted a fee-waiver request regarding a FOIA request for records relating to
                                   a muster sent by CBP in April 2017. In June 2017, the Department of Defense granted a fee-
                                   waiver request regarding a FOIA request for records pertaining to the authorities approved by
                                   President Trump in March 2017 which allowed U.S. involvement in Somalia. In June 2017, the
                                   Department of Defense, the CIA, and the Office of Inspector General granted fee-wavier
                                   requests regarding a FOIA request for records pertaining to U.S. involvement in the torture of
                                   detainees in prisons in Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May
                                   2017, CBP granted a fee-waiver request regarding a FOIA request for documents related to
                                   electronic device searches at the border. In April 2017, the CIA and the Department of State
                                   granted fee-waiver requests in relation to a FOIA request for records related to the legal
                                   authority for the use of military force in Syria. In March 2017, the Department of Defense Office
                                   of Inspector General, the CIA, and the Department of State granted fee-waiver requests
                                   regarding a FOIA request for documents related to the January 29, 2017 raid in al Ghayil,
                                   Yemen. In June 2016, the Office of the Director of National Intelligence granted a fee-waiver
                                   request regarding a FOIA request related to policies and communications with social media
                                   companies’ removal of “extremist” content. In May 2016, the FBI granted a fee-waiver request
                                   regarding a FOIA request issued to the Department of Justice for documents related to
                                   Countering Violent Extremism Programs.


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                                          Pursuant to applicable statutes and regulations, the ACLU expects a
                                   determination regarding expedited processing within 10 days. See 5 U.S.C.
                                   § 552(a)(6)(E)(ii).

                                           If the Request is denied in whole or in part, the ACLU asks that you
                                   justify all deletions by reference to specific exemptions to FOIA. The ACLU
                                   expects the release of all segregable portions of otherwise exempt material. The
                                   ACLU reserves the right to appeal a decision to withhold any information or
                                   deny a waiver of fees.

                                          Thank you for your prompt attention to this matter. Please furnish the
                                   applicable records to:

                                          Nathan Freed Wessler
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                          American Civil Liberties Union
                                          125 Broad Street, 18th Floor
                                          New York, New York 10004
                                          T: 212.549.2500
                                          nwessler@aclu.org

                                          I affirm that the information provided supporting the request for
                                   expedited processing is true and correct to the best of my knowledge and belief.
                                   See 5 U.S.C. § 552(a)(6)(E)(vi).

                                                                        Sincerely,




                                                                        __________________________
                                                                        Nathan Freed Wessler
                                                                        Evelyn Danforth-Scott
                                                                        Megan C. Keenan
                                                                        American Civil Liberties Union
                                                                          Foundation
                                                                        125 Broad Street, 18th Floor
                                                                        New York, New York 10004
                                                                        T: 212.549.2500
                                                                        nwessler@aclu.org




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                                                      Addendum: Recipient Agencies


                                    Department of Commerce             Census Bureau
                                    Deputy Chief FOIA Officer          FOIA/PA Office
                                    Office of Privacy and Open         4600 Silver Hill Road
                                    Government                         Washington, DC 20233-3700
                                    Room 52010
                                    1401 Constitution Avenue, NW
                                    Washington, D.C. 20230

                                    National Oceanic and Atmospheric   Consumer Financial Protection
                                    Administration                     Bureau
AMERICAN CIVIL LIBERTIES
                                    Mark Graff, FOIA Officer, Room     CFPB, Attn: Chief FOIA Officer
UNION FOUNDATION                    9719 - NOAA FOIA Office (SOU       1700 G Street, NW
                                    10000)                             Washington, DC 20552
                                    1315 East-West Highway
                                    Silver Spring, MD 20910

                                    Department of Agriculture          Food and Nutrition Service
                                    Alexis R. Graves                   Kevin Lynch
                                    Departmental FOIA Officer          1320 Braddock Place
                                    1400 Independence Avenue, SW       Alexandria, VA 22314
                                    Room 4039-A
                                    Washington, DC 20250-0706

                                    Department of Defense              Office of the Secretary and the
                                    Defense Freedom of Information     Joint Staff
                                    Division                           OSD/JS FOIA Requester Service
                                    1155 Defense Pentagon              Center, Office of Freedom of
                                    Washington, DC 20301-115           Information
                                                                       1155 Defense Pentagon
                                                                       Washington, DC 20301-1155

                                    Department of Education            Department of Health and Human
                                    FOIA Service Center, Office of     Services
                                    Secretary                          Freedom of Information Act Office
                                    400 Maryland Avenue, SW            Hubert H. Humphrey Building, Room
                                    Washington, DC 20202-4536          729H
                                                                       200 Independence Avenue, SW
                                                                       Washington, D.C. 20201




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                                    Administration for Children and     Center for Medicare and Medicaid
                                    Families                            Services
                                    Freedom of Information Act Office   Joseph Tripline, FOIA Officer,
                                    Mary E. Switzer Building, Room      Central Building Room C5-11-06
                                    4004                                7500 Security Boulevard
                                    330 C Street, S.W.                  Baltimore, MD 21244
                                    Washington, DC 20201

                                    Centers for Disease Control and     Food and Drug Administration
                                    Prevention                          FDA Division of Freedom of
                                    Roger Andoh, FOIA Officer, MS-      Information, Office of the Executive
                                    D54                                 Secretariat, OC
                                    1600 Clifton Road, N.E.             5630 Fishers Lane, Room 1035
                                    Atlanta, GA 30333                   Rockville, MD 20857
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    National Institutes of Health       Office of the Secretary – Program
                                    NIH FOIA Office, Building 31,       Support Center
                                    Room 5B35                           Freedom of Information Act Office
                                    31 Center Drive, MSC 2107           Hubert H. Humphrey Building, Room
                                    Bethesda, MD 20892-2107             729H
                                                                        200 Independence Avenue, SW
                                                                        Washington, D.C. 20201

                                    Substance Abuse and Mental          Department of Homeland Security
                                    Health Services Administration      Privacy Office, Mail Stop 0655
                                    FOIA Office,                        Department of Homeland Security
                                    5600 Fishers Lane, 18th Foor        2707 Martin Luther King Jr. AVE
                                    Rockville, MD 20857                 SE
                                                                        Washington, DC 20528-065

                                    Federal Emergency Management        U.S. Citizenship and Immigration
                                    Agency                              Services
                                    Federal Emergency Management        U.S. Citizenship & Immigration
                                    Agency, FOIA Officer,               Services, National Records Center,
                                    500 C Street, SW, Room 840          FOIA/PA Office
                                    Washington, DC 20472                P.O. Box 648010
                                                                        Lee's Summit, MO 64064-8010

                                    Department of Housing and Urban     Bureau of Indian Affairs
                                    Development                         Justin Davis
                                    Chief, Room 10139                   MS-4660
                                    451 7th Street, SW                  1849 C Street, NW Washington, DC
                                    Washington, DC 20410-3000           20240




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                                    National Park Service               Department of Justice
                                    Nicholas Banco                      FOIA/PA Mail Referral Unit, Justice
                                    1849 C Street, Room 2229            Management Division, Room 115,
                                    Washington, DC 20240                LOC Building, Washington, D.C.
                                                                        20530-0001

                                    Federal Bureau of Investigations    Executive Office for US Attorneys
                                    Michael G. Seidel, Section Chief,   Kevin Krebs, Assistant Director,
                                    Record/Information Dissemination    FOIA/Privacy Unit
                                    Section                             175 N Street, NE, Suite 5.400
                                    200 Constitution Drive              Washington, DC 20530-0001
                                    Winchester, VA 22602

                                    Department of Labor                 Mine Safety and Health
                                    Office of the Solicitor             Administration
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    Division of Management and          Lanesia Washington, FOIA Officer,
                                    Administrative Legal Services       Room 5W231
                                    200 Constitution Ave NW             12th Street South
                                    Room N-2420                         Arlington, VA 22202
                                    Washington, DC 20210

                                    Occupational Safety and Health      Department of State
                                    Administration                      U.S. Department of State
                                    Christopher Durso, FOIA Officer,    Information Access Liaison Office,
                                    Room N3647                          A/SKS/IAP/IAL
                                    200 Constitution Avenue, NW         2201 C Street N.W., Suite B266
                                    Washington, DC 20210                Washington, D.C. 20520-0000

                                    U.S. Agency for International       Department of Veterans Affairs
                                    Development                         Department of Veterans Affairs
                                    1300 Pennsylvania Avenue, N.W.      Freedom of Information Act Services
                                    USAID Annex, M/MS/IRD, Room         (005R1C)
                                    2.4.0A                              811 Vermont Avenue, NW
                                    Washington, DC 20523-2701           Washington, DC 20420

                                    Equal Employment Opportunity        General Services Administration
                                    Commission                          FOIA Contact, FOIA Requester
                                    Michael L. Heise, Assistant Legal   Service Center (LG)
                                    Counsel, Equal Employment           1800 F. Street, NW
                                    Opportunity Commission, Office of   Washington, DC 20405
                                    Legal Counsel, FOIA Programs, 131
                                    M Street, N.E., Suite 5NW22B,
                                    Washington, D.C. 20507




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                                    Office of Management and Budget    Office of Personnel Management
                                    Tim Nusraty, FOIA Officer          U.S. Office of Personnel
                                    725 17th Street NW, Room 9272      Management
                                    Washington, DC 20503               1900 E Street, N.W.
                                                                       OPIM/FOIA Room 5H35
                                                                       Washington, D.C. 20415-7900

                                    Social Security Administration     Department of the Treasury
                                    Social Security Administration     FOIA/PA Request
                                    Office of Privacy and Disclosure   FOIA and Transparency
                                    G-401 WHR                          Department of the Treasury
                                    6401 Security Boulevard            Washington, D.C. 20220
                                    Baltimore, Maryland 21235

                                    Bureau of the Fiscal Service       Internal Revenue Service
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                    FOIA Disclosure Office/Room 508B   Internal Revenue Service, GLDS
                                    3201 Pennsy Drive, Building E.     Support Services Stop 211
                                    Landover, MD 20785                 P.O. Box 621506
                                                                       Atlanta, GA 30362-3006




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